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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA




 KORRELL SANTANA COLE,                       Case No. 2-23-cv-10392-SB-PD
        Plaintiff,

 v.                                          CASE MANAGEMENT ORDER

 DEP. PALENCIA et al.,

        Defendants.



   PLEASE READ THIS ORDER (AND ATTACHMENT) CAREFULLY

The complaint was filed on December 11, 2023; and the answer was filed on June
10, 2024.

The Court has reviewed the joint Rule 26(f) report and sets the pretrial and trial
dates noted in the table below based on an evaluation of the complexity of the case.
The deadlines below will not be continued absent a timely showing of good cause.
Good cause requires a specific, detailed, timely, and non-conclusory showing of
diligence from the outset of the case, describing: (i) all relevant work previously
done (including when each item was completed), (ii) all relevant work that remains
to be done, (iii) why the remaining work could not previously have been done
(including efforts made to complete each remaining item), and (iv) why the amount
of time requested is needed to complete the remaining work. The Attachment to
this Order describes the requirements in more detail, and failure to comply with
them will result in denial of the request with prejudice.




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    Trial   ☐ Court ☒ Jury         (Mon., 8:30 a.m.)             March 10, 2025
    Pretrial Conference           (Fri., 9:30 a.m.)
    (including hearing on motions in limine)                    February 28, 2025

    Motion to Amend Pleadings/Add Parties                       September 6, 2024
    (Hearing Deadline)
    Discovery Deadline – Nonexpert                          December 27, 2024

    Discovery Deadline – Expert                             December 27, 2024
     Initial Expert Disclosure                                  October 28, 2024
     Rebuttal Expert Disclosure                                 November 4, 2024
    Discovery Motion Hearing Deadline 1                          January 3, 2025

    Non-Discovery Motion Hearing Deadline                        January 3, 2025
    Settlement Conference Deadline
                                                                January 17, 2025
    ☒ 1. Mag. J. ☐ 2. Panel ☐ 3. Private
    Post-Settlement Status Conf. (Fri., 8:30 a.m.):             January 31, 2025
    Joint Status Report Due (7 days before by 9:00 a.m.):       January 24, 2025
    Trial Filings (First Set) Deadline                          February 7, 2025

    Trial Filings (Second Set) Deadline                         February 14, 2025

All motion deadlines reflect the last day when a motion may be heard, and a
hearing must be set on an open hearing date. Consult the Court’s website before
scheduling a hearing to determine availability. A party that waits until the last day
to have a motion heard on a date that turns out to be unavailable risks having the
motion stricken and not heard.

The parties should plan to complete discovery far enough in advance of the
discovery deadline to allow for the filing of a discovery motion if necessary and
for completion of the discovery allowed if relief is granted. Delaying discovery

1
 A motion seeking or opposing further nonexpert discovery must be heard on or
before the nonexpert discovery deadline.


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(e.g., a deposition) until receiving other discovery (e.g., written discovery)—or
deciding not to conduct a deposition remotely—generally does not constitute good
cause to continue the discovery or other deadlines. The parties should take this
risk into account when deciding whether to engage in strategic ordering of
discovery or to conduct in-person depositions.

The parties, their counsel, and their witnesses should be prepared to trail for up to
30 days from the trial date if needed.


cc: ADR




Date: July 12, 2024                            ___________________________
                                                     Stanley Blumenfeld, Jr.
                                                   United States District Judge




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                                         ATTACHMENT


The parties should prepare this case without expecting an extension of any pretrial
or trial deadline, even if the extension request is by stipulation. The Court applies
the same standard of good cause for all requests (whether opposed or unopposed).

A continuance will be granted only for good cause as defined in the Order above.
The showing shall be placed in a table in chronological order and shall include all
discovery and significant procedural events from the outset of the case in the
format illustrated below.

                                       Completed Work
     Date      Pty               Event                                  Explanation
    __/__/__   Π               Complaint
    __/__/__   Δ                 Answer
    __/__/__   Π           Initial Disclosures
    __/__/__   Δ           Initial Disclosures
    __/__/__   Π     Interrog., RFPs, RFAs (Set #1) 2
    __/__/__   Δ     Interrog., RFPs, RFAs (Set #1)
    __/__/__   Π               Smith Depo
                                       Remaining Work 3
                                                        Detail: (1) why it was not already done; (2)
    __/__/__   Π               Jones Depo               prior efforts to complete it; and (3) why the
                                                        amount of time requested is necessary.

The requesting party/parties also must submit a proposed order in Word format
using the exact “CMO Continuance Order template” provided on the Court’s
website.

         Failure to comply with the above requirements will result in
         the denial of the request with prejudice.
2
 Each discovery item (e.g., RFAs) must be separately listed unless they all occurred on the same
date.
3
  Each remaining discovery item must be listed separately with a proposed date for completion in
the first column, the party taking the discovery in the second column, a description of the
discovery in the third column, and an explanation in the fourth column of (1) why the discovery
was not already done, (2) the prior efforts to complete it, and (3) why the amount of time
requested is necessary.


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